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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP,
an individual, and REPRESENTATIVE
RONNY JACKSON, an individual,
                                                          Case 2:24-CV-00236-Z
                             Plaintiffs,

        v.

PARAMOUNT GLOBAL d/b/a
PARAMOUNT, a Delaware
corporation, CBS BROADCASTING
INC., a New York corporation, and CBS
INTERACTIVE, INC., a Delaware
corporation,


                             Defendants.


                                   JOINT NOTICE OF SETTLEMENT

TO THE HONORABLE COURT:

        Plaintiffs, President Donald J. Trump and Representative Ronny Jackson (“Plaintiffs”),

together with Defendants Paramount Global d/b/a Paramount, CBS Broadcasting Inc., and CBS

Interactive, Inc. (“Defendants”) (together, the “Parties”), show unto the honorable Court as

follows:

        The Parties have agreed to a settlement of this matter. The Parties are working diligently

to prepare and execute a mutually agreeable final Compromise Settlement Agreement and

Release, followed by Plaintiffs’ dismissal of the action with prejudice.




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                                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing document was served pursuant to the Federal Rules
of Civil Procedure on the 2nd day of July, 2025, via the Northern District of Texas’s electronic
filing notification system.


                                               /s/ Chris D. Parker
                                            Chris D. Parker




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